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NO. 3:15-CV-02935-B

MALLORY MEYER, AS EXECUTOR § IN THE UNITED STATES DISTRICT

OF THE ESTATE OF JAMES § COURT
EVERETT MEYER §
Plaintiff, §.
§
V. § FOR NORTHERN DISTRICT OF
§
§
CITY OF MAYPEARL AND KEVIN § TEXAS DALLAS DIVISION
COFFEY §
Defendants. §

PLAINTIFF'S MOTION FOR CONTINUANCE
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES Plaintiff, Mallory Meyer, as Executor of the Estate of JAMES
EVERETT MEYER, Movant herein, and brings this Motion for Continuance, and in support
hereof, shows the court the following:

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This case is set for trial on October 17, 2016. The Plaintiff requests a continuance of the
Scheduling Order, to include the reset of all pre-trial deadlines and trial date. The parties have
engaged in discovery; however additional discovery time is needed to effectuate meaningful
progress toward resolution or preparation for trial.

I.

This continuance is not sought for delay only, but that justice may be done. The Ellis
County District Clerk records indicate that Co-Defendant Kevin Coffey had a final pre-trial
setting for his pending criminal matter set for July 7, 2016. Plaintiff has previously requested a
copy of the Texas Rangers report involving Co-Defendant Coffey, but was told that the Ellis

County District Attorney’s Office will not provide the report until the criminal case against

 
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Coffey has concluded. We believe crucial discovery material which would be helpful to the
Plaintiff and Defense is included in this report.

WHEREFORE, PREMISES CONSIDERED, Plaintiff, Mallory Meyer, as Executor of
JAMES EVERETT MEYER, Movant herein, requests this Court to grant this Motion for
Continuance and to continue this case for at least 180 days, and for such other and further relief

that may be awarded at law or in equity.

Respectfully submitted,

}

Andrea M. Hunter

Texas Bar No. 24059984

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Ken

Attorney for Plaintiff
Mallory Meyer, as Executor of JAMES
EVERETT MEYER

 

 
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CERTIFICATE OF SERVICE

I certify that on July 18, 2016 a true and correct copy of Plaintiff's Motion for

Continuance was served to each person listed below by the method indicated.

Pha
mtn,

 

 

wy”
ANDREA M. HUNTER

E-mail: andrea@justicerequired.com

Darrell G-M Noga

Attorney for City of Maypearl

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Date: July 18,2016 Time: 3:05 p.m.
Document was Electronically Served, and
Electronic Transmission was Reported as Complete.

Bryan David

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Date: July 18,2016 Time: 3:05 p.m.
Document was Electronically Served, and
Electronic Transmission was Reported as Complete.

 
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CERTIFICATE OF CONFERENCE

I certify that I have conferred, or made a reasonable attempt to confer, with all other

parties which are listed below about the merits of this motion with the following results:

City of Maypearl

Kevin Coffey

 

Bryan David
opposes motion as to the City of Maypearl, unopposed as it

pertains to co-defendant Kevin Coffey

has been mailed a copy of this motion as he is in custody.
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OOH

Andrea M. Hunter

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